        Case: 1:18-cv-01574-JG Doc #: 7 Filed: 08/24/18 1 of 2. PageID #: 78




                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF OHIO

JOHN D’ANGELO,                                    CASE NO.. 1:18 CV 01574

               Plaintiff,                         JUDGE JAMES GWIN

v.                                                NOTICE OF DISMISSAL,
                                                  PURSUANT TO FEDERAL RULES OF
LAURA TAKACS, ET AL.                              CIVIL PROCEDURE, R. 41(a)

               Defendants.


       Plaintiff by and through counsel, hereby gives Notice to this Honorable Court and to the

Defendants (by and through their Attorneys), that Plaintiff is hereby dismissing the above

captioned action pursuant to Federal Rules of Civil Procedure, R. 41(a).

                                                 Respectfully submitted,

                                                 /s/ Michela Huth
                                                 MICHELA HUTH
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                                                 PO Box 17
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                                                 Attorney for Plaintiff


                                                 /s/ Richard Rosenthal
                                                 RICHARD BRUCE ROSENTHAL
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                                                 Attorney for Plaintiff
        Case: 1:18-cv-01574-JG Doc #: 7 Filed: 08/24/18 2 of 2. PageID #: 79




                              CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above Notice was sent to Middleburg Heights Law
Director, Gary Ebert by email at gaebert@middleburgheights.com and Kelli K. Perk, Assistant
Prosecuting Attorney, kperk@prosecutor.cuyahogacounty.us, on August 24, 2018.

                                                          /s/ Michela Huth
                                                         MICHELA HUTH




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